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                            Exhibit 34
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                                        • -----~~---- •
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                                                      \ .4 /southwest~
                                                     ~~..- programs

                                                         Psychiatric Report

Minor's Name:                                                                                   Alien#: -
DOB: _ _ _ _ _ __ _ __ _                            Age: _ _ _ __
                                                                                                            - - - - - - - -·
                                                                                       Sex:
                                                              - -- - - -
Known Allergies: _ _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ __ _ __ __ _ _ __
Reason for Referra,1 :
                         --- --------------------- --- ----- - - -
Have alternative intervent ions to medication been used :                      YES              NO
If yes: - - - - - - - - - - - - - - - - -- - -- - -- - -- - - - - - - - - - - - - -

If alternative interventions have been used, describe the alt ernat ive interventions to the use of psychotropic medication
that have been attempted and that have been unsuccessful :
                                                                 - ----------- --- --- --- -

(TO BE COMPLETED BY PROVIDER)


Provider : -- - - - - - - - - - - - - - -- - --       Type of Services: - - - -- - -- -
Diagnosis: - - - - - -- - -- - -- - -- - -- - - - - - - - - - - - - - - - - - - - -
Nature of the chlld's ment al illness or condition:
                                                    - ---~....----.r------
Medicat ion Prescribed?          @               N~       HU       3,t~
If yes: )fl'v-ru4~ Si>'~ y. bee.., 1 ~ M£i.P'T~Cs; fdl.,               .r~;
                                                                          Wayne R. McIntosh DNP, PMH
Explanation of the pyrpose of the medi9tion: - -  ~-"- - - , - , - - - - - - - - - ----.iNP._Ji-.#~1u 9 911fe8S1,-t¥.S'f49~8~-- -- -
                                                                                                   9 fi                                ·
Benefits expected: '1,()(;.Pf\.h~l~ 1 V6 )~/YI {>fl)~       '$l££P
Any possible side effects, both long term and shorttelm: 1' /hr,NIA           Tel: 480-733-3068 Fax· 623-9•
Is the medication habitual? /yl'                           /w~t;t;I          llc/16
                                                                               8581 N. 61stAve Glendale&

Risks and benefits of the alternative treatments or procedures: - - - - - - - - - - - - - - - - - - - - -
Risks and benefits of not receiving or undergoing a treatment or procedure: - -- -- - - - - - - -- - -- -




    ~ &;>-<(,_ AS GL KNr 15                     /\/P
Special Instructions:
                     -------------------- --- --- --- --- ---
Diet: YES        ~
If yes, describe indications and l e n g t h : - - - - - - - - -- - - - - - - - - - - - -- - -- -- -

Activity Instructions:   YES  ~
If yes, indications: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ __ _ __ _ __ _ _ _ _ _ _ _ _ _ _,
If yes, describe indicat ions and length: - - - - - - - - - - - - - - - - - - - - - - - - -- - - -

Follow up visit:         b,        NO        tjvJ"?'_)
lf yes, date: - - - - - - - - --            Time: - - - -- - - -
Special indications : - - -- - -- - -- - -- - -- -- -- - - -- -- - -- - -- - - -

Updated 10.26.2016

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